                       Case 1:21-cr-00327-RC Document 1 Filed 02/16/21 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                for the
                                                        District of Columbia

                  United States of America                         )
                             v.                                    )
                LUKE RUSSELL COFFEE                                )      Case No.
                                                                   )
                                                                   )
                                                                   )
                           Defendant(s)


                                                    CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     01/06/2021                 in the county of                                  in the
                          District of        Columbia         , the defendant(s) violated:
            Code Section                                                     Offense Description
18 U.S.C. § 111(b)                              Assault of Federal Law Enforcement Officer with Dangerous Weapon
18 U.S.C. § 231(a)(3)                           Interference with Law Enforcement Officer During Civil Disorder
18 U.S.C. § 1512(c)(2)                          Obstruction of an Official Proceeding
18 U.S.C. § 1752(a)(1) and (2)                  Unlawful Entry on Restricted Grounds
40 U.S.C. § 5104(e)(1)                          Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
See attached affidavit.




         u Continued on the attached sheet.



                                                                                             Complainant’s signature

                                                                                    Jeffrey Johannes, Special Agent- FBI
                                                                                              Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone
                                                                                                      Digitally signed by
Date:             02/16/2021                                                                          G. Michael Harvey
                                                                                                Judge’s signature

City and state:                         Washington, D.C.                    G. Michael Harvey, United States Magistrate Judge
                                                                                              Printed name and title
